      Appellate Case: 22-1409     Document: 27      Date Filed: 12/20/2022      Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                           December 20, 2022
                          _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 ALEJANDRO MENOCAL, et al.,

        Plaintiffs - Appellees,

 v.                                                            No. 22-1409
                                                   (D.C. No. 1:14-CV-02887-JLK-MEH)
 THE GEO GROUP, INC.,                                           (D. Colo.)

        Defendant - Appellant.
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                                       ORDER
                          _________________________________

        This matter is before the court on appellees’ reply in support of the motion to

dismiss. The reply is referred to the panel who will decide this appeal on the merits. No

ruling will issue at this time.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
